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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                             )
EVERYTOWN FOR GUN SAFETY                     )
SUPPORT FUND,                                )
                                             )
               Plaintiff,                    )
                                             )       Civil Action No. 19-3103 (CKK)
               v.                            )
                                             )
UNITED STATES DEPARTMENT                     )
OF JUSTICE,                                  )
                                             )
               Defendant.                    )
                                             )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of February 18, 2020, Plaintiff Everytown for Gun

Safety Support Fund and Defendant United States Department of Justice (“DOJ”) respectfully

submit this Joint Status Report in this Freedom of Information Act (“FOIA”) case.

       This case involves Plaintiff’s two April 2018 FOIA requests to DOJ’s Office of

Information Policy (“OIP”), the DOJ component that handles the FOIA administration for the

Offices of the Attorney General, Deputy Attorney General, Associate Attorney General,

Legislative Affairs, Legal Policy, and Public Affairs. One request seeks records pertaining to

communications and meetings between the Executive Branch and the National Rifle Association,

the National Rifle Association Institute for Legislative Action, or the National Shooting Sports

Foundation. The second request seeks records pertaining to certain gun violence reduction

initiatives launched in 2015 and 2016, and related communications between DOJ officials and

specified gun lobby organizations and gun industry members. See ECF No. 1, Exs. A & C.

       Consistent with the Parties’ February 14, 2020 Joint Status Report, see ECF No. 12,

Defendant provided Plaintiff an interim response by letter dated March 31, 2020, producing 30
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pages in part, and withholding one page in full. Defendant anticipates providing a final response

to the first request by April 14, 2020.

        Because this Joint Status Report is being filed before Plaintiff receives and reviews

Defendant’s final response to the first request and any specific information about the size and

scope of the final response, Plaintiff reserves the right to address the sufficiency of Defendant’s

final response to the first request at a later time.

        Also consistent with the parties' February 14, 2020, Joint Status Report, having soon

completed its response to Plaintiff’s first request, OIP will now turn its attention to the second

request by (1) applying the terms of the parties’ April 2019 scoping agreement to the raw search

results for the second request, and (2) conducting an initial responsiveness review and de-

duplication of these search results. OIP will endeavor to make an interim production on or

before June 12, 2020, and will additionally meet and confer with Plaintiff as its responsiveness

review proceeds so that the parties can seek to narrow the scope and process the relevant records

more expeditiously.

        Pursuant to the Court's February 18, 2020 Minute Order, the parties will submit a further

Joint Status Report on June 15, 2020, and every 60 days thereafter, to apprise the Court regarding

the status of OIP’s responses to Plaintiff’s requests.

Dated: April 14, 2020                          Respectfully submitted,

                                                   /s/ Murad Hussain
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